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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
John-Michael Gutierrez                                                   CASE NUMBER

                                                                                        2:21-cv-07927-JFW (SK)
                                           Plaintiff(s)/Petitioner(s),
                                v.
Shawn Gutierrez et al.
                                                                               ORDER OF DISMISSAL OR REMAND

                                       Defendant(s)/Respondent(s).


The Court previously received from                Plaintiff(s)/Petitioner(s)           Defendant(s)/Respondent(s):
                 an IFP Request with no accompanying Complaint/Petition/Notice of Removal.
                 a Complaint/Petition/Notice of Removal without an accompanying IFP Request
                 or payment of the filing fees.
                 a Complaint/Petition/Notice of Removal with a partial filing fee payment for an amount
                 less than the required $400.
The Court sent a warning order to        Plaintiff(s)/Petitioner(s) Defendant(s)/Respondent(s) advising that
failure to correct this deficiency within THIRTY DAYS from the date of the warning order would result in
dismissal or remand of this case. More than THIRTY DAYS have now passed, and the deficiency has not been
corrected.

Accordingly, this case is HEREBY ORDERED

                 DISMISSED. No further filings shall be accepted under this case number.

                 REMANDED to the                                                              . No further findings shall be
                 accepted under this case number.

IT IS SO ORDERED.



 Dated:          November 17, 2021
                                                                                       John F. Walter
                                                                                       United States District Judge




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